 Case 1:20-cv-01478-SB Document 121 Filed 11/03/22 Page 1 of 4 PageID #: 6023




                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF DELAWARE

  MICHAEL NINIVAGGI, JAKE MICKEY,
  CAILIN NIGRELLI and HANNAH RUSSO,                  Civil Action No. 20-cv-1478-SB
  individually and on behalf of all others
  similarly situated,

                                 Plaintiffs,

             v.

  UNIVERSITY OF DELAWARE,

                                  Defendant.


                             JOINT STIPULATION AND ORDER

         WHEREAS, on September 30, 2022 Defendant filed two separate motions to exclude the

expert testimony of Steven P. Gaskin and Colin B. Weir (ECF No. 103-106);

         WHEREAS, on October 21, 2022 Plaintiffs filed their oppositions to Defendant’s

motions to exclude the expert testimony of Steven P. Gaskin and Colin B. Weir (ECF No. 112-

113);

         WHEREAS, Defendant’s replies in support of its motions to exclude the expert

testimony of Steven P. Gaskin and Colin B. Weir are currently due on November 11, 2022;

         WHEREAS, Defendant requires additional time to file its replies in support of the

motions to exclude the expert testimony of Steven P. Gaskin and Colin B. Weir;

         WHEREAS, this is the first request for an extension of the briefing schedule for the

motions to exclude the expert testimony of Steven P. Gaskin and Colin B. Weir;

         WHEREAS, on October 25, 2022 Plaintiffs filed a motion to exclude the expert

testimony of Benjamin S. Wilner (ECF No. 114-115);




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 Case 1:20-cv-01478-SB Document 121 Filed 11/03/22 Page 2 of 4 PageID #: 6024




         WHEREAS, Defendant’s opposition to the motion to exclude the expert testimony of

Benjamin S. Wilner is currently due on November 8, 2022;

         WHEREAS, Defendant requires additional time to respond to the motion to exclude the

expert testimony of Benjamin S. Wilner;

         WHEREAS, this is the first request for an extension of the briefing schedule for the

motion to exclude the expert testimony of Benjamin S. Wilner;

         WHEREAS, on October 28, 2022 Defendant filed a motion for summary judgment (ECF

No. 117-119);

         WHEREAS, Plaintiffs opposition to the motion for summary judgment is currently due

on November 14, 2022;

         WHEREAS, Plaintiffs require additional time to respond to the motion for summary

judgment;

         WHEREAS, this is the first request for an extension of the briefing schedule for the

motion for summary judgment;

         IT IS HEREBY STIPULATED AND AGREED, subject to the approval of the Court,

as follows:

         1.     Defendant shall file its response to Plaintiffs’ motion to exclude the expert

                testimony of Benjamin S. Wilner on November 30, 2022;

         2.     Plaintiff shall file its reply in further support of Plaintiffs’ motion to exclude the

                expert testimony of Benjamin S. Wilner on December 16, 2022;

         3.     Defendant shall file its reply in support of its motions to exclude the expert

                testimony of Stephen P. Gaskin and Colin B. Weir on November 30, 2022;




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 Case 1:20-cv-01478-SB Document 121 Filed 11/03/22 Page 3 of 4 PageID #: 6025




         4.   Plaintiffs shall file their opposition to the Defendant’s motion for summary

              judgment on December 5, 2022;

         5.   Defendant shall file its in reply in further support of its motion for summary

              judgment on December 22, 2022.




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 Case 1:20-cv-01478-SB Document 121 Filed 11/03/22 Page 4 of 4 PageID #: 6026




Dated: October 31, 2022

CHIMICLES SCHWARTZ KRINER &               SAUL EWING ARNSTEIN & LEHR
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Attorneys For Plaintiffs                  Attorney for Defendant



                                    IT IS SO ORDERED


                                    __________________________
                                    The Honorable Stephanos Bibas
                                    UNITED STATES CIRCUIT JUDGE




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